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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF IDAHO



    PLANNED PARENTHOOD GREAT
    NORTHWEST, HAWAII, ALASKA,                  CASE NO. 1:23-cv-00142-BLW
    INDIANA, KENTUCKY, on behalf
    of itself, its staff, physicians, and
    patients, et al.,                           NOTICE OF DEFENDANT
                                                LINCOLN COUNTY JOINING IN
    Plaintiffs,                                 DEFENDANTS’ MOTION TO
                                                DISMISS
    v.
    RAÚL LABRADOR, in his capacity
    as the Attorney General of the State
    of Idaho, et al.,

    Defendants.

       COMES NOW, Richard T. Roats, Lincoln County Prosecuting Attorney, and on behalf

of the Lincoln County Prosecuting Attorney’s Office joins in Defendants’ Motion to Dismiss

docket number 127.

       DATED: May 8, 2023

                                                  /s/ Richard T. Roats
                                                  Richard T. Roats
                                                  Lincoln County Prosecuting Attorney
DEFENDANT LINCOLN COUNTY’S JOINING IN DEFENDANTS’ MOTION TO DISMISS
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